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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA

ORCUN SELCUK et al,

                   Plaintiffs,
       v.                                            Case No. 4:24-cv-390

PAUL D. PATE et al,

                   Defendants.


       PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
      TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Plaintiffs respectfully submit this Supplemental Brief in support of their request for a

temporary restraining order (“TRO”) and preliminary injunction in this matter. As shown in Part I

below, the facts—including declarations and other evidence provided shortly before and discussed

during the November 1, 2024 hearing—show that Defendants’ scheme unlawfully burdens

Plaintiffs’ constitutional rights. In parts II through VI below, Plaintiffs then provide answers to

questions posed by the Court at the November 1, 2024 hearing.

I.     The Well-Established Facts Show Plaintiffs Are Entitled to Immediate Relief.

       A.      The Affected Voters’ DOT Information Is Often Extremely Dated.

       During the TRO hearing, there was much discussion about both the age and reliability of

the DOT data the Secretary used to compile the list. The list of Affected Voters was complied

based on an Affected Voter’s statement to the Iowa DOT at some point in the past that they were

a lawful permanent resident, as opposed to a naturalized United States citizen. The Secretary’s

counsel stated during the hearing that those creating the list used a date cutoff such that DOT data

more than eight years out of date would not have necessarily put an Affected Voter on the list.




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       But an examination of relevant evidence—including ECF 10—shows that many of the

Affected Voter’s statements to the DOT were made more than 20 years ago. Here is a screen shot

(with red arrow added and the voter’s name redacted), showing that one voter indicated they were

not a citizen in April of 2000 (during the Clinton administration), and then registered to vote as a

citizen in August of 2022 (during the Biden administration), more than 20 years later:




(ECF No. 10 at 86) (name redacted). Relying on data more than twenty years old shows just how

poor of a proxy the Affected Voters list is for actually identifying any ineligible voters.

       Other record evidence bears this out: to date, the only Affected Voters that have been

publicly identified have all been United States citizens. The Secretary has not pointed to one person

on the list who registered to vote and is yet ineligible.

       To assist the Court’s review of these facts, Plaintiffs have prepared a table comparing the

date of DOT information and the date of an Affected Voter’s registration on the list. The sampling

of the available data shows the Secretary is routinely relying on old DOT data, including data more

than eight years old. Whatever the Secretary claims to have done to address stale DOT data (as

mentioned by his counsel during the November 1, 2024 hearing) appears to have been ineffective

or incorrect:




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     Citation              County            Date of DOT       Date of Voter     Max Years
                                              Data Used        Registration       Between
 ECF 10 at 24-26         Winneshiek            4/20/2021        11/7/2023             2
  ECF 10 at 30          Pottawattamie          1/23/2020        9/11/2024             4
  ECF 10 at 32          Pottawattamie         8/26/2008         7/13/2020            11
                                                 AND
                                               4/12/2024
   ECF 10 at 34         Pottawattamie         10/12/2002         11/2/2018           16
                                                 AND
                                              10/25/2023
   ECF 10 at 36         Pottawattamie          4/5/2017           10/2/2024          7
   ECF 10 at 38         Pottawattamie          6/3/2015          10/10/2022          7
   ECF 10 at 40         Pottawattamie          8/16/2006          6/19/1999          7
   ECF 10 at 44         Pottawattamie          5/21/2016          1/26/2023          6
   ECF 10 at 46         Pottawattamie         10/17/2017          2/23/2024          6
   ECF 10 at 50         Pottawattamie         10/14/2017         12/23/2021          5
   ECF 10 at 52         Pottawattamie          5/5/2010          11/20/2012          2
   ECF 10 at 54         Pottawattamie          10/4/2008          11/8/2016          8
   ECF 10 at 56         Pottawattamie         10/13/2017           9/4/2024          6
   ECF 10 at 58         Pottawattamie          4/8/2014          10/23/2020          6
   ECF 10 at 60         Pottawattamie          10/6/2010         10/10/2019          9
   ECF 10 at 66         Pottawattamie          9/5/2013           3/22/2024          10
   ECF 10 at 68         Pottawattamie          8/17/2016         12/23/2022          6
   ECF 10 at 70         Pottawattamie         12/17/2009          7/13/2020          10
   ECF 10 at 72         Pottawattamie          8/28/2015           6/2/2020          4
   ECF 10 at 80         Pottawattamie          2/12/2020          8/15/2024          4
   ECF 10 at 82         Pottawattamie          10/4/2018          11/7/2023          5
   ECF 10 at 84         Pottawattamie          6/13/2014          9/30/2024          10
   ECF 10 at 86         Pottawattamie          4/27/2000           8/8/2022          22
   ECF 10 at 88         Pottawattamie         10/12/2011          8/20/2020          8
   ECF 10 at 90         Pottawattamie         10/11/2007          8/22/2023          15
   ECF 10 at 92         Pottawattamie          3/20/2007          11/4/2022          15


       B.       Defendant Shane’s Declaration Confirms That Many Affected Voters On
                The List Are Actually Eligible To Vote.

       Shortly before Friday’s TRO hearing, Defendant Erin Shane (“Auditor Shane”) submitted

a sworn declaration to the Court on her own accord (ECF No. 26-1) (the “Shane Declaration”).

The facts in the Shane Declaration further bolster Plaintiffs’ claims:




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(ECF No. 26-1 ¶¶ 6–7.) The Shane Declaration shows just how poorly tailored the Secretary’s

Voter Purge Program is. Moreover, the Shane Declaration shows how little notice Affected Voters

have of how the Voter Purge Program affects their right to vote:




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(Id. ¶¶ 11–12.) Importantly, the Shane Declaration addresses one question the Court posed during

the hearing—whether county officials must abide by the Secretary’s directives. Auditor Shane

answered that question with a definite yes: she may face prosecution by the Iowa Attorney General

and/or a fine of up to $10,000 for not obeying the Secretary’s directive. (ECF No. 26-1 ¶ 10.)

        Plaintiffs next proceed to answer questions the Court posed during the hearing.

II.     Question 1: What authority supports the proposition that a classification targeting all
        non-native born persons is subject to strict scrutiny?

        The Court asked both parties during the hearing whether there is authority to support the

proposition that a classification targeting all non-native persons is subject to strict scrutiny.

Plaintiffs said there was (and it is cited below), and Defendants said there wasn’t. Defendants are

squarely wrong.

        Widespread and binding precedent holds that any policy that treats naturalized U.S. citizens

or other foreign-born individuals differently simply because they were born outside of the United

States constitutes national-origin discrimination subject to strict scrutiny. This is true even when

the discriminatory policy does not distinguish between particular countries of origin. As long as

there is differential treatment between foreign-born U.S. citizens or individuals and U.S.-born

citizens, strict scrutiny applies.

        The most recent, on-point case is Parada v. Anoka County, 54 F.4th 1016 (8th Cir. 2022).

In that case, a county jail contacted federal immigration authorities “every time a foreign-born

individual is detained,” regardless of citizenship status, and delayed the individual’s release

pending confirmation of their immigration status. Id. at 1019. The Eighth Circuit held that the

policy was “subject to strict scrutiny” and affirmed a jury verdict that the county violated the

foreign-born plaintiff’s right to equal protection under the Fourteenth Amendment. Id. at 1020

(“Those born abroad must wait anywhere from 20 minutes to 6 hours longer” while their


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immigration status is verified, whereas “[f]or those born in the United States, by contrast, there is

no call and release is immediate.”). The Court held that this policy was “a classic example of

nation-origin discrimination,” even though it applied equally to all foreign-born individuals and

did not classify persons based on specific countries of origin.

        Just as Anoka County treated every foreign-born individual—including naturalized U.S.

citizens—as presumptively lacking lawful immigration status and thus subjecting them to greater

burdens than U.S.-born detainees, Defendants here improperly subject more than 2,000 foreign-

born individuals to greater voting burdens than U.S.-born citizens, even though both parties agree

that there are U.S. citizens on the list. Under the Secretary of State’s directive, naturalized U.S.

citizens are uniquely required to provide a U.S. Passport or naturalization certificate in order to

vote, while all other citizens need only provide a driver’s license or other form of identification.

See Iowa Code Ann. § 49.78. Just as in Parada, the Secretary’s policy “is a classic example of

national-origin discrimination. On its face, it treats people differently depending on where they

were born”—no matter where that particular foreign county is, or if those people share the same

foreign country. Parada, 54 F.4th at 1020. Parada is all the Court needs to review to conclude that

strict scrutiny applies here.

        Of course, Parada is not an outlier. A slew of courts, including the U.S. Supreme Court,

have consistently held that disparate treatment of naturalized and native-born U.S. citizens is

subject to strict scrutiny as national-origin discrimination and is presumptively unconstitutional.

See, e.g., Schneider v. Rusk, 377 U.S. 163, 169 (1964) (invalidating statute that would have

restricted naturalized citizens’ ability to live abroad while a “native-born citizen is free to reside

abroad indefinitely without suffering loss of citizenship”); Tiwari v. Mattis, 363 F. Supp. 3d 1154,

1162-63 (W.D. Wash. 2019) (finding violation of equal protection because process for obtaining



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security clearance was “more onerous for citizens born outside the United States than for other

citizens,” which “constitutes discrimination on the basis of national origin” and is subject to strict

scrutiny); Viet Anh Vo v. Gee, 301 F. Supp. 3d 661, 665-66 (E.D. La. 2017) (applying strict scrutiny

and invalidating state law that required only naturalized citizens to provide a birth certificate,

because the law treated “U.S. citizens differently from U.S. born citizens merely because of where

they were was born”); Boustani v. Blackwell, 460 F. Supp. 2d 822, 825-26 (N.D. Ohio 2006)

(“Since native-born citizens are not required to show any proof of their citizenship under R.C. §

3505.20, the statute creates an unequal application of voting requirements and lacks the

justification of promoting a compelling governmental interest.”); Fernandez v. Georgia, 716 F.

Supp. 1475, 1479 (M.D. Ga. 1989) (invalidating, under strict scrutiny, Georgia’s requirement that

state troopers be native-born citizens, because “native-born and naturalized citizens of the United

States are persons similarly situated in the view of the Constitution and should be treated alike”);

Huynh v. Carlucci, 679 F. Supp. 61, 66 (D.D.C. 1988) (“[B]ut for their national origin, [naturalized

citizen] plaintiffs would be accorded the same individualized security clearance evaluation given

all other United States citizens. Government action that classifies citizens on the grounds of

national origin is inherently suspect, subject to strict scrutiny and thus can be sustained only if

necessary to achieve a compelling state interest.”). This specifically applies in the voting context,

as well. E.g., Boustani, 460 F. Supp. 2d at 825-26. Because the Voter Purge Project classifies the

Affected Voters based on their natural origin, strict scrutiny must apply.




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III.     Question 2: If strict scrutiny applies, is the Secretary’s Program narrowly tailored
         to achieving a compelling interest of preventing non-eligible individuals from
         voting?
         The Court also asked whether, in light of DOT information, the Secretary’s program is

narrowly tailored. Plaintiffs said no, and the Secretary said yes. An examination of applicable

authorities show Plaintiffs are right and the Secretary is wrong.

         Narrow tailoring requires that the means chosen to achieve the State’s asserted purpose

must be specifically and narrowly framed to accomplish that purpose. E.g., Libertarian Party of

Ark. v. Thurston, 962 F.3d 390, 398 (8th Cit. 2020). If there are reasonable alternatives to achieving

the State’s asserted goals “with a lesser burden on constitutionally protected activity, a State cannot

choose the way of greater interference. If it acts at all, it must choose less drastic means.” Dunn v.

Blumstein, 405 U.S. 330, 343 (1972) (cleaned up). Where the state fails to consider less restrictive

alternatives which could accomplish the same ends, the chosen means are not narrowly tailored

and fail strict scrutiny. Parada v. Anoka Cnty., 54 F.4th 1016, 1021 (8th Cir. 2022) (concluding

classification based on national origin failed strict scrutiny because less restrictive means of

achieving the same ends—like one conditioned on having reasonable suspicion an individual was

present illegally before contacting ICE—were available but not considered); see Republican Pty.

of Minn. v. White, 416 F.3d 738, 751 (8th Cir. 2005).

         The Secretary’s Voter Purge Program is not narrowly tailored because the Secretary has

admitted that it is overinclusive, and that there are less restrictive alternative means of achieving

the same ends. First, the record demonstrates that a substantial number of citizens are included

within the ambit of the Secretary’s Program, indiscriminately burdening their voting rights based

only on their national origin. (See ECF No. 10 Exs. J ¶ 5; G, H, M, P.) Overinclusive national

origin classification programs that include within their sweep a substantial number of citizens are

not narrowly tailored. See Parada, 54 4th at 1020–21.

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        Second, less restrictive alternative means of accomplishing the Secretary’s stated goal

exist. The Secretary’s Program could have tailored to focusing on the date Affected Voters first

registered to vote versus the date when they reported their non-citizen status. Doing so would have

allowed the Secretary to focus on the 154 Affected Voters self-identifying as non-citizen after

registering to vote. But that is not what the Secretary’s Voter Purge Program does. Courts

evaluating similar programs have recognized there are tools available to state officials interested

in verifying the citizenship status of registered voters. See Mi Familia Vota v. Fontes, 719 F. Supp.

3d 929, 955–56, 958–59 (D. Ariz. 2024) (describing availability of various databases for

confirming citizenship status of naturalized citizen voters). These tools—coupled with the

foresight to have started the program during the “summer”—when the Secretary claims to have

become concerned about this issue—would have allowed the Secretary to develop a more narrowly

tailored list. Perhaps most critically, the Secretary acknowledges the list of 154 Affected Voters

self-identifying as non-citizens would be a more narrowly tailored means of achieving its stated

end. Because the Secretary has less restrictive means of achieving his goal available to him, the

Program is not narrowly tailored and fails strict scrutiny.

IV.     Question 3: Can the Court Order Injunctive Relief Consistent With The Purcell
        Principle?

        The Court also asked whether it can order the relief Plaintiffs seek that would be consistent

with the Purcell principle. See Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam). Plaintiffs say

yes, and the Secretary says no. Again, the Secretary is incorrect.

        The core principle animating Purcell is the need to avoid “conflicting orders” that can

“result in voter confusion and consequent incentive to remain away from the polls” as “an election

draws closer.” Purcell, 549 U.S. at 4–5. Far from foreclosing injunctive relief here, Purcell




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underscores the need for the Court to redress the Secretary’s eleventh-hour directive that is causing

confusion for voters and election officials.

       The Secretary tries to sideline the Court by claiming that Purcell “instruct[s] federal courts

not to insert themselves into election-related disputes shortly before an election,” Defs.’ Resp. at

1, but Purcell provides no reasonable basis for the Secretary to shield his conduct from judicial

review. The Secretary’s directive did precisely what Purcell seeks to avoid: foment confusion and

risk discouraging voter participation by upending election rules during election season. See id. At

the November 1, 2024 hearing, the Secretary conceded that he had concerns about noncitizens

voting months ago, yet he waited to issue the directive until just fourteen days before the General

Election. Purcell seeks consistency and clarity during election season, a principle that cannot be

squared with the suggestion that election officials have carte blanche to upend election procedures

in the midst of an election.

       In any event, Purcell did not bar courts from issuing injunctive relief to settle election

procedures. As the Supreme Court explained in Republican Nat’l Comm. v. Democratic Nat’l

Comm., Purcell seeks to avoid “judicially created confusion.” 589 U.S. 423, 425 (2020). The

prudence of avoiding conflicting judicial orders during election season means that “lower federal

courts should ordinarily not alter the election rules on the eve of an election” (emphasis added).

That is not what Plaintiffs are seeking here. Quite the opposite, Plaintiffs are not seeking to alter

any rules, but rather to return matters to the status quo before October 22. Purcell’s cautioning

against upending election rules does not prevent courts from ordering election officials to return

things to the status quo ex ante. Id.; see also Carson v. Simon, 978 F.3d 1051, 1062 (8th Cir. 2020)

(“The Purcell principle—that federal courts should usually refrain from interfering with state

election laws in the lead up to an election—is well established.”) (emphasis added).



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       Lest the main point get lost, if the Secretary were correct, he could instigate the most

unconstitutional of programs in the midst of election season, and federal courts would be powerless

to stop him. Whatever Purcell means, it cannot mean that federal courts—long the guardian of

voting rights—are powerless to correct constitutional violations. None of the Secretary’s

authorities says otherwise.1




1
 The Secretary cites a long string of cases that purportedly reaffirm his categorization of the
Purcell doctrine, but none supports him. Three of the cases cited merely mention Purcell within a
dissenting or concurring opinion (and in a way that supports Plaintiffs’ reading of the Purcell
principle), two cases do not mention Purcell at all, and three cases cite the Purcell principle as
being one in which federal courts should strive to avoid voter confusion by interfering with
election rules shortly before an election, but that this sometimes cannot be avoided because
federal courts still must ensure the Constitution is upheld. See, e.g., Merrill v. People First of
Ala., 141 S. Ct. 25 (Mem.) (2020) (citing Purcell in a dissenting opinion for the principle that
district courts should avoid “creating ‘voter confusion and consequent incentive to remain away
from the polls’”); Andino v. Middleton, 141 S. Ct. 9 (2020) (citing Purcell in a concurring
opinion for the principle that “this Court has repeatedly emphasized that federal courts ordinarily
should not alter election rules in the period close to an election” (emphasis added)); Merrill v.
People First of Ala., 141 S. Ct. 190 (Mem.) (2020) (no reference to Purcell); Clarno v. People
Not Politicians, 141 S. Ct. 206 (Mem.) (2020) (no reference to Purcell); Little v. Reclaim Idaho,
140 S. Ct. 2616 (Mem.) (2020) (no reference to Purcell); Republican Nat’l Comm. v. Democratic
Nat’l Comm., 589 U.S. 423, 424–25 (2020) (per curiam) (“This Court has repeatedly emphasized
that lower federal courts should ordinarily not alter the election rules on the eve of an
election. . . . [T]he wisdom of the Purcell principle . . . seeks to avoid this kind of judicially
created confusion.”(emphasis added)); Democratic Nat’l Comm. v. Wis. State Legis., 141 S. Ct.
28 , 42 (Mem.) (2020) (Kagan, J., dissenting) (“At its core, Purcell tells courts to apply, not
depart from, the usual rules of equity.” (internal quotations omitted) (application to vacate stay
denied); Carson v. Simon, 978 F.3d 1051, 1062 (8th Cir. 2020) (“Election rules must be clear and
judges should normally refrain from altering them close to an election. Purcell protects the status
quo.”); Org. for Black Struggle v. Ashcroft, 978 F.3d 603, 609 (8th Cir. 2020) (“The public has an
interest in the fair and orderly operation of elections, and the Supreme Court has repeatedly
emphasized that lower federal courts should ordinarily not alter the election rules on the eve of
an election.” (internal quotation omitted)).

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V.       Question 4: How does Crawford v. Marion County impact the Court’s analysis?

         The Court also asked how, if at all, the Supreme Court’s decision in Crawford v. Marion

County Election Board, affects its analysis. The answer is simple: it doesn’t.

         In Crawford, the Supreme Court declined to enjoin an Indiana voter photo identification

statute that applied to all voters in the state. 553 U.S. 181 (2008) That case has no bearing here for

several reasons. First, Crawford concerned a voter ID requirement that was generally applicable,

“neutral,” and “nondiscriminatory.” Id. at 202-03 (“[O]n the basis of the record that has been

made in this litigation, we cannot conclude that the statute imposes ‘excessively burdensome

requirements’ on any class of voters.”). The Voter Purge Program is the opposite: it singularly

imposes a higher burden on naturalized citizens but not other U.S.-born citizens.

         Second, the burdens imposed on naturalized citizens in this case are significantly greater

than in Crawford. The voter ID requirement in Crawford was enacted by the state legislature more

than half a year in advance of the election, which gave voters some warning that an acceptable

form of ID (available for free from the state) may be required; the state law also exempted indigent

voters, who may satisfy the requirement via an affidavit. See id. at 185-86; 2005 Ind. Legis. Serv.

P.L. 109-2005 (S.E.A. 483). Here, the Secretary—absent any statute passed by a duly enacted

legislature—imposed a new proof-of-citizenship requirement mere days before the election, when

it is virtually impossible to obtain or replace a U.S. Passport or a naturalization certificate in time.

Unlike a driver’s license or state-issued identification card (which is also available free of charge,

Iowa Code Ann. § 48A.10A), a citizenship document typically takes months and may cost

hundreds of dollars to obtain. 2 See Boustani, 460 F. Supp. 2d at 825-26 (“[A]n applicant can expect



2
 The time and expense of replacing a certificate of naturalization are onerous. The filing fee is over $500 ($505 for
online or $555 for paper), and the current processing time is 7.5 months. Check Case Processing Times, U.S.


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to wait up to one year to receive a replacement [naturalization] certificate. Therefore, a voter

challenged under R.C. § 3505.20 would be unlikely to produce the required documentation within

ten days to the Board of Elections.”); see also generally Crawford, 553 U.S. at 198 (finding that

Indiana’s voter ID statute might be unconstitutional “if the State required voters to pay a tax or a

fee to obtain a new photo identification.”) (citing Harper v. Va. Bd. of Elec., 383 U.S. 663 (1966)).

         And finally, unlike in Crawford, where voters were on notice about the statute the

legislature had passed long before the election, affected voters in Iowa were not given notice of

the Secretary’s last-minute directive and likely will lack knowledge of it until they show up to vote

on Election Day, when they will be unlikely to have citizenship documentation with them. See

Boustani, 460 F. Supp. 2d at 825. (“Naturalized citizens are rarely asked to produce the document,

and normally do not carry it on their person.”). The voter ID provision in Crawford is, ultimately,

similar to voter ID laws common across the United States, including Iowa’s longstanding

requirement which is not at issue here. The Secretary’s directive, which requires a certain subset

of voters to provide a rarer and costlier form of identification without advance warning on the eve

of an election, is far more burdensome.




Citizenship and Immigration Services, https://egov.uscis.gov/processing-times/ (last visited Nov. 1, 2024)
(processing time for N-565 | Application for Replacement Naturalization/Citizenship Document).

The fees for a new passport book costs $165, and it currently takes up to two weeks for the passport application to
be received by the passport agency, about four to six weeks for the application to be processed, and up to another
two weeks for the passport to be received after it has been printed—meaning the total wait-time may be as long as
eight to ten weeks. Passport Fees, U.S. Dep’t of State – Bureau of Consular Affairs,
https://travel.state.gov/content/travel/en/passports/how-apply/fees.html (last visited Nov. 1, 2024); Processing Times
for U.S. Passports, U.S. Dep’t of State – Bureau of Consular Affairs,
https://travel.state.gov/content/travel/en/passports/how-apply/processing-times.html (last visited Nov. 1, 2024).



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VI.    Question 5: What Powers Does The Secretary Have Over Election Commissioners?

       The Court also asked whether election officials like county auditors or others must follow

the Secretary’s directive.

       The Secretary of State is designated as the state commissioner of elections and has

significant authority over county election commissioners under Iowa Code Annotated § 47.1(1).

This power includes prescribing uniform election practices and procedures, prescribing necessary

forms required to conduct elections, adopting rules to carry out responsibilities, and issuing

guidance not subject to the rulemaking process in order to clarify election laws and rules. Iowa

Code § 47.1 (1). In Democratic Senatorial Campaign Committee v. Pate, the Supreme Court of

Iowa held that the Secretary of State had general authority through section 47.1 to issue directives

to county officials to ensure uniformity and compliance with state election laws. 950 N.W.2d 1

(Iowa 2020). And Iowa Code § 47.2 states that “[t]he county commissioner of elections does not

possess home rule powers with respect to the exercise of powers or duties related to the conduct

of elections prescribed by statute or rule, or guidance issued pursuant to section 47.1.” Iowa Code

§ 47.2(1). In his directive, the Secretary of State has explicitly invoked the powers of his office by

stating, “under SOS authority under Iowa Code sections 47.1(1) and 47.7(6), you are hereby

directed to challenge the ballots of any person in the attached list of registered voters who attempt

to vote in the 2024 General Election.” Ex. E. It is unclear what the Secretary was referring to in

Iowa Code section 47.7(6) since that specific provision does not exist. Regardless, this categorical

directive is inconsistent with the Secretary’s counsel’s representations at the hearing that county

officials had some undefined discretion to refrain from challenging certain voters on the list

depending on additional information they might have.




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       Auditor Shane’s declaration underscores that county election officials must generally

follow secretary directives, and if they don’t, they risk certain consequences. As Secretary Shane

averred, “by not following [the directive] I could be subject to a fine of up to $10,000 per voter

for technical infractions (Iowa Code § 39A.6) and/or prosecution by the Iowa Attorney General

(Iowa Code § 39A.2(1)(g)) for failure to perform my duties and implement the Secretary’s

guidance under Iowa Code § 47.1.”

       Thus, because county election commissioners generally do not have discretion to ignore

the Secretary’s directives (and for purposes of uniformity, one would not want 99 separate

decisions on whether to follow a Secretary’s neutral, non-discriminatory guidance), a court order

enjoining the Voter Purge Program is necessary.

VII.   What Specific Remedial Order Should The Court Enter If It Agrees With
       Plaintiffs?

       Finally, the Court asked Plaintiffs what specific remedial order it should enter if it agrees

that relief is warranted. The Court should enter an order as follows:

       •   The program the Secretary implemented on October 22, 2024 is unconstitutional.

       •   The directive the Secretary issued to county election officials on that date is rescinded.

       •   County election officials must not use the Secretary’s list as a basis to challenge any

           voter on the list.




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                                        CONCLUSION

       For the reasons articulated herein and in their opening brief, see ECF No. 9-1, Plaintiffs

respectfully request the Court grant its Motion for a Temporary Restraining Order and Preliminary

Injunction. See ECF No. 9.



Dated: November 2, 2024                     /s/ Jesse Linebaugh
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                              CERTIFICATE OF SERVICE

        The undersigned certifies that a true copy of the foregoing document was filed
electronically through the Court’s CM/ECF filing system on November 2, 2024, which will send
notice to all counsel of record.


                                                 /s/ Joseph R. Quinn




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